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                                                                                      E-FILED
                                                    Thursday, 22 September, 2016 12:47:33 PM
                                                                 Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                         SPRINGFIELD DIVISION

ORVILLE ADAMS,

             Petitioner,                              Case No. 16-CV-3177

vs.                                                   Hon. Sue E. Myerscough,
                                                      United States District Judge,
UNITED STATES OF AMERICA,                             Presiding

             Respondent.

                                 STATUS REPORT

      Petitioner Orville Adams, by his attorney, provides this status report in

response to the Court’s order of June 24, 2016, to keep it apprised of the Seventh

Circuit’s application of Johnson v. United States, 135 S. Ct. 2551 (2015), to the

Sentencing Guidelines.

      On August 29, 2016, the en banc Seventh Circuit, in a 5-4 vote, held that

Johnson applies with equal force to the Sentencing Guidelines as to the Armed

Career Criminal Act (ACCA). United States v. Hurlburt, --F.3d--, 2016 WL 4506717

(7th Cir. 2016). In so holding, the Court overruled United States v. Tichenor, 683

F.3d 358 (7th Cir. 2012), which had previously barred challenges to the

Guidelines on vagueness grounds. Op. at 3. As the Court explained, the residual

clause to U.S.S.G. § 4B1.2(a)(2) suffered from the same problems that plagued the

ACCA. Op. at 9–10.
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                                       Respectfully submitted,

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                           CERTIFICATE OF SERVICE

      I hereby certify that on September 22, 2016, I electronically filed the

foregoing with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to Assistant United States Attorney Gregory M.

Gilmore.

                                       /s/ Thomas W. Patton
                                       THOMAS W. PATTON




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